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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

OMNIPROPHIS CORP., d/b/a
SCREENED IMAGES,

                                      Plaintiff,
                                                                    Case # 23-CV-006617-FPG
v.
                                                                    ORDER

VANTEON CORP,

                                      Defendant.



       Plaintiff OmniProphis Corp. has moved to have attorney Alexander R. Zwillinger admitted

to this Court pro hac vice, in order to appear in this action. The required admission fees have been

paid to the Clerk of Court. After reviewing the application of Mr. Zwillinger, which is sponsored

by Kathleen J. Martin, a member of this Court’s bar, it is hereby

       ORDERED, that the application of Alexander R. Zwillinger to be admitted pro hac vice to

this Court is GRANTED for the purpose of representing Plaintiff in this action.

       IT IS SO ORDERED.

Dated: November 9, 2023
       Rochester, New York
                                              ______________________________________
                                              HON. FRANK P. GERACI, JR.
                                              United States District Judge
                                              Western District of New York
